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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
vs.                                           )      Case No. 12-CR-054-CVE
                                              )
CODY ALLEN JONES,                             )
                                              )
                       Defendant.             )

                        DEFENDANT’S UNOPPOSED MOTION FOR
                         EXTENSION OF MOTIONS DEADLINES

         Counsel for Defendant Cody Allen Jones moves the Court to extend the time to file

pretrial motions by ten days, from May 29, 2012, to June 8, 2012. Additionally, counsel requests

the court extend the deadline for filing of responsive pleadings accordingly. In support of this

Motion, Counsel submits the following for the Court’s consideration:

         1. In compliance with Local Criminal Rule 47.4, Counsel advises the Court

that she has spoken with Jan Reincke, Assistant United States Attorney, and the Government has

no objection to the requested extension of the pretrial motions and response deadlines.

         2. On May 21, 2012, Counsel for the defendant returned to work from an extended

family medical leave and entered her appearance in this matter.

         3. Upon request for discovery, Counsel for the defendant was informed that it should be

delivered on the afternoon May 24, 2012.

         4. The current motions deadline does not afford Counsel sufficient time to review

discovery with and consult with her client, and determine what, if any, pretrial motions should be

filed.
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       5. The defendant’s request will not unduly delay or prejudice the administration of

justice, as it does not impact the jury trial setting. Therefore, the Speedy Trial Act is not

implicated.

       WHEREFORE, Counsel for the defendant requests the Court extend the time in which to

file pretrial motions by ten days and extend the deadline for filing of responses thereto

accordingly.

                                       Respectfully submitted,

                                       OFFICE OF THE FEDERAL PUBLIC DEFENDER
                                       Julia L. O’Connell, Federal Public Defender

                                       By:     s/Amanda M. Folsom
                                               Amanda M. Folsom, OBA #19094
                                               Assistant Federal Public Defender
                                               Office of the Federal Public Defender
                                               One West Third Street, Suite 1225
                                               Tulsa, OK 74103
                                               Telephone: 918.581.7656
                                               Counsel for the Defendant



                                 CERTIFICATE OF SERVICE

       I certify that on the 24th day of May, 2012, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrant(s):

       Jan Reincke
       Assistant United States Attorney
       Office of the United States Attorney
       110 West 7th Street, Suite 300
       Tulsa, Oklahoma 74119

                                               s/Amanda M. Folsom
                                               Amanda M. Folsom



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